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 1    VALENTI LAW APC
      Matthew D. Valenti (SBN 253978)
 2
      E-mail: mattvalenti@valentilawapc.com
 3    5252 Balboa Avenue, Suite 700
      San Diego, California 92117
 4
      Phone: (619) 540-2189
 5
      Attorney for Michael J. Page
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 7
 8
 9                          UNITED STATES DISTRICT COURT

10                        SOUTHERN DISTRICT OF CALIFORNIA

11
12    MICHAEL J. PAGE,                            Case No.: '25CV1313 AJB KSC
13
                   Plaintiff,                     COMPLAINT FOR:
14
         vs.                                      DENIAL OF CIVIL RIGHTS AND
15                                                ACCESS TO PUBLIC FACILITIES
                                                  TO PHYSICALLY DISABLED
16                                                PERSONS IN VIOLATION OF THE
      IIZUKA CORPORATION; and DOES                AMERICANS WITH DISABILITIES
17    1-10,                                       ACT OF 1990, (42 U.S.C. §12101, et
                                                  seq.) AND THE UNRUH CIVIL
18                                                RIGHTS ACT, (CALIFORNIA CIVIL
                   Defendants.                    CODE §51, et seq.)
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                                                  DEMAND FOR JURY TRIAL
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                                         COMPLAINT - 1
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 1         “[T]he continuing existence of unfair and unnecessary discrimination and
           prejudice denies people with disabilities the opportunity to compete on an
 2
           equal basis and to pursue those opportunities for which our free society
 3         is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
           “It is the policy of this state to encourage and enable individuals with a
 5         disability to participate fully in the social and economic life of the state ...”
 6         California Government Code §19230(a).

 7
            Plaintiff MICHAEL J. PAGE, (hereinafter referred to as “Plaintiff”)
 8
      complains of IIZUKA CORPORATION, a California corporation dba ICHIBAN
 9
      PB; and DOES 1-10, (each, individually a “Defendant” and collectively
10
      “Defendants”) and alleges as follows:
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                                         I.      PARTIES
12
            1.     Plaintiff MICHAEL J. PAGE is a California resident and a qualified
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      physically disabled person. He cannot walk due to paraplegia and uses a
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      wheelchair for mobility. Plaintiff prides himself on his independence and on
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      empowering other disabled persons to be independent.
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            2.     Defendants IIZUKA CORPORATION and DOES 1-10 are and were
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      the owners, operators, lessors and/or lessees of the subject business, property, and
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      facility at all times relevant in this Complaint.
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            3.     Plaintiff does not know the true names of Defendants, their business
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      capacities, their ownership connection to the property and business, or their
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      relative responsibilities in causing the access violations herein complained of, and
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      alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
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      informed and believes that each of the Defendants herein, including DOES 1
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      through 10, inclusive, is responsible in some capacity for the events herein alleged,
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      or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
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      amend when the true names, capacities, connections, and responsibilities of the
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      Defendants and Does 1 through 10, inclusive, are ascertained.
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                                              COMPLAINT - 2
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 1           4.     Defendants own and owned the property located at 1441 Garnet Ave.
 2    San Diego, CA 92109 (“Subject Property”) at all relevant times.
 3           5.     Defendants operate and operated a restaurant doing business as
 4    ICHIBAN PB (“restaurant”), located at the Subject Property, at all relevant times.
 5           6.     Plaintiff alleges that the Defendants have been and are the owners,
 6    franchisees, lessees, general partners, limited partners, agents, trustees, employees,
 7    subsidiaries, partner companies and/or joint ventures of each of the other
 8    Defendants, and performed all acts and omissions stated herein within the course
 9    and scope of such relationships causing the damages complained of herein.
10                            II.    JURISDICTION AND VENUE
11           7.     This Court has subject matter jurisdiction over this action pursuant to
12    28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
13    Disabilities Act of 1990, U.S.C. §12101, et seq.
14           8.     Pursuant to supplemental jurisdiction, an attendant and related cause
15    of action, arising out of the same nucleus of operative facts and arising out of the
16    same transactions, is also brought under California’s Unruh Civil Rights Act,
17    which expressly incorporates the Americans with Disabilities Act.
18           9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
19    and is founded on the fact that the real property which is the subject of this action
20    is located in this district and that Plaintiff’s causes of action arose in this district.
21                                          III.   FACTS
22           10.    Plaintiff uses a wheelchair for mobility.
23           11.    Defendants’ business is open to the public, a place of public
24    accommodation, and a business establishment.
25           12.    Plaintiff went to the restaurant on April 11, 2025, to enjoy a meal. The
26    receipt he received for his purchase is shown in the photo below.
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            13.    Unfortunately, during Plaintiff’s visit, Defendants did not offer
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      persons with disabilities equivalent facilities, privileges, advantages, and
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      accommodations offered to other persons.
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            14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
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      the ability to use and enjoy the goods, services, privileges, advantages, and
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      accommodations offered by Defendants at the Subject Property.
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            15.    These barriers violate one or more standards of the Americans with
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      Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
25
      CBC”).
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            16.    Where restrooms are provided, each restroom must be accessible.
27
      2010 ADA §213.2; 2022 CBC 11B-213.2. Among other requirements, a restroom
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                                           COMPLAINT - 4
     Case 3:25-cv-01313-AJB-KSC      Document 1      Filed 05/22/25   PageID.5    Page 5 of 15




 1    with toilet compartments must include at least one such compartment with
 2    sufficient width and maneuvering space for a wheelchair user to transfer to and
 3    from the toilet. 2010 ADA §604.3.1, §604.8; 2022 CBC 11B-604.3.1, 11B-604.8.
 4          17.    The restroom’s sink has a cabinet underneath it which creates an
 5    access barrier for persons using a wheelchair. The sink has no clearance space
 6    underneath it so that a person in a wheelchair can get close enough to reach the
 7    faucet comfortably and safely. 2010 ADA §212.3; 2010 ADA §606.2; 2022 CBC
 8    11B-212.3; 2022 CBC 11B-606.2.
 9          18.    Plaintiff used the restroom during his visit to the restaurant. As a
10    result of the lack of accessible sink, Plaintiff had great difficulty and discomfort
11    washing his hands. He was forced to lean his upper body far forward in his
12    wheelchair, which made the wheelchair feel unstable and caused him pain and
13    discomfort in his hips and abdomen.
14          19.    The photos below show one or more of these violations.
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                                           COMPLAINT - 5
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 1          20.    The barriers existed during Plaintiff’s visit to the Subject Property.
 2    Plaintiff personally encountered these barriers.
 3          21.    These inaccessible conditions and barriers denied Plaintiff full and
 4    equal access and caused him difficulty, discomfort, and embarrassment.
 5          22.    Because of the lack of a compliant restroom, he was forced to lean his
 6    upper body far forward in his wheelchair, which made the wheelchair feel unstable
 7    and caused him pain and discomfort in his hips and abdomen.
 8          23.    These barriers denied Plaintiff full and equal access due to his
 9    disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
10    and embarrassment which patrons who do not use a wheelchair for mobility do not
11    suffer when they access the Subject Property.
12          24.    Plaintiff intends to return to the Subject Property in the near future.
13    Plaintiff is currently deterred from returning because of the knowledge of the
14    barriers to equal access that relate to Plaintiff’s disabilities which continue to exist
15    at Defendants’ public accommodation facilities.
16          25.    Plaintiff alleges that Defendants knew that the barriers prevented
17    equal access. Plaintiff further alleges that Defendants had actual or constructive
18    knowledge that the architectural barriers prevented equal access, and that the
19    noncompliance with the Americans with Disabilities Act and Title 24 of the
20    California Building Code regarding accessible features was intentional.
21          26.    Defendants have obstructed or failed to maintain, in working and
22    useable conditions, those features necessary to provide ready access to persons
23    with disabilities. “A public accommodation shall maintain in operable working
24    condition those features of facilities and equipment that are required to be readily
25    accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
26    CBC 11B-108.
27          27.    The State of California Department of General Servicers, Division of
28    the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:

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 1              Features for accessibility must be permanently functional, unobstructed
                and may not be removed. It is not sufficient to provide features such as
 2
                accessible routes, parking, elevators, ramps or signage if those features
 3              are not maintained in a manner that enables individuals with disabilities
 4              to use them.

 5    DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
 6              28.   Defendants have the financial resources to remove these barriers
 7    without much expense or difficulty in order to make their property more accessible
 8    to their mobility impaired customers. The United States Department of Justice has
 9    identified that these types of barriers are readily achievable to remove.
10              29.   To date, Defendants refuse to remove these barriers, in violation of
11    the law, willfully depriving disabled persons including Plaintiff of important civil
12    rights.
13              30.   On information and belief, Plaintiff alleges that the Defendants’
14    failure to remove these barriers was intentional because the barriers are logical and
15    obvious. During all relevant times Defendants had authority, control, and dominion
16    over these conditions and therefore the absence of accessible facilities was not a
17    mishap, but rather an intentional act.
18              31.   The barriers to access are listed above without prejudice to Plaintiff
19    citing additional barriers to equal access by an amended complaint after inspection
20    by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
21    654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
22    2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
23    All of these barriers to access render the premises inaccessible to physically
24    disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
25    may encounter when he returns to the premises. All public accommodations must
26    be brought into compliance with all applicable federal and state accessibility
27    requirements.
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                                              COMPLAINT - 7
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 1                               FIRST CAUSE OF ACTION
 2                 Violation of the Americans With Disabilities Act of 1990
 3                                 (42 U.S.C. §12101, et seq.)
 4                                  (Against All Defendants)
 5          32.    Plaintiff alleges and incorporates by reference, as if fully set forth
 6    again herein, each and every allegation contained in all prior paragraphs of this
 7    complaint.
 8          33.    More than thirty years ago, the 101st United States Congress found
 9    that although “physical or mental disabilities in no way diminish a person’s right to
10    fully participate in all aspects of society, yet many people with physical or mental
11    disabilities have been precluded from doing so because of discrimination…in such
12    critical areas as employment, housing, public accommodations, education,
13    transportation, communication, recreation, institutionalization, health services,
14    voting, and access to public services.” 42 U.S.C. §12101(a).
15          34.    In 1990 Congress also found that “the Nation’s proper goals regarding
16    individuals with disabilities are to assure equality of opportunity, full participation,
17    independent living, and economic self-sufficiency for such individuals,” but that
18    “the continuing existence of unfair and unnecessary discrimination and prejudice
19    denies people with disabilities the opportunity to compete on an equal basis and to
20    pursue those opportunities for which our free society is justifiably famous.” 42
21    U.S.C. §12101(a).
22          35.    In passing the Americans with Disabilities Act of 1990, which was
23    signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
24    “ADA”), Congress stated as its purpose:
25          “It is the purpose of this Act
26
            (1) to provide a clear and comprehensive national mandate for the
27          elimination of discrimination against individuals with disabilities;
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                                             COMPLAINT - 8
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 1          (2) to provide clear, strong, consistent, enforceable standards
            addressing discrimination against individuals with disabilities;
 2
 3          (3) to ensure that the Federal Government plays a central role in
 4          enforcing the standards established in this Act on behalf of individuals
            with disabilities; and
 5
 6          (4) to invoke the sweep of congressional authority, including the power
            to enforce the fourteenth amendment and to regulate commerce, in
 7          order to address the major areas of discrimination faced day to-day by
 8          people with disabilities.”

 9    42 USC §12101(b).
10
            36.    As part of the ADA, Congress passed “Title III – Public
11
      Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
12
      seq.). Title III of the ADA prohibits discrimination against any person “on the
13
      basis of disability in the full and equal enjoyment of the goods, services, facilities,
14
      privileges, advantages, or accommodations of any place of public accommodation
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      by any person who owns, leases (or leases to), or operates a place of public
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      accommodation.” 42 U.S.C. §12182(a).
17
            37.    The specific prohibitions against discrimination include, inter alia, the
18
      following:
19
         • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
20         shall be discriminatory to afford an individual or class of individuals,
21         on the basis of a disability or disabilities of such individual or class,
           directly, or through contractual, licensing, or other arrangements, with
22         the opportunity to participate in or benefit from a good, service, facility,
23         privilege, advantage, or accommodation that is not equal to that
           afforded to other individuals.”
24
25       • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
           modifications in policies, practices, or procedures when such
26
           modifications are necessary to afford such goods, services, facilities,
27         privileges, advantages, or accommodations to individuals with
           disabilities...;”
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 1
 2       • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
           necessary to ensure that no individual with a disability is excluded,
 3         denied service, segregated, or otherwise treated differently than other
 4         individuals because of the absence of auxiliary aids and services...;”

 5       • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 6         barriers, and communication barriers that are structural in nature, in
           existing facilities... where such removal is readily achievable;”
 7
 8       • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
           the removal of a barrier under clause (iv) is not readily achievable, a
 9         failure to make such goods, services, facilities, privileges, advantages,
10         or accommodations available through alternative methods if such
           methods are readily achievable.”
11
12          38.    Plaintiff is a qualified individual with a disability as defined in the
13    Rehabilitation Act and in the Americans with Disabilities Act of 1990.
14          39.    The acts and omissions of Defendants set forth herein were in
15    violation of Plaintiff’s rights under the ADA and the regulations promulgated
16    thereunder, 28 C.F.R. Part 36 et seq.
17          40.    The removal of each of the physical and policy barriers complained of
18    by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
19    achievable” under the standards of §12181 and §12182 of the ADA. Removal of
20    each and every one of the architectural and/or policy barriers complained of herein
21    was already required under California law. Further, on information and belief,
22    alterations, structural repairs or additions since January 26, 1993, have also
23    independently triggered requirements for removal of barriers to access for disabled
24    persons per §12183 of the ADA. In the event that removal of any barrier is found
25    to be “not readily achievable,” Defendants still violated the ADA, per
26    §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
27    and accommodations through alternative methods that were “readily achievable.”
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                                          COMPLAINT - 10
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 1           41.    On information and belief, as of the date of Plaintiff’s encounter at the
 2    premises and as of the filing of this Complaint, Defendants’ actions, policies, and
 3    physical premises have denied and continue to deny full and equal access to
 4    Plaintiff and to other mobility disabled persons in other respects, which violate
 5    Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
 6    the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
 7    enjoyment of the goods, services, facilities, privileges, advantages and
 8    accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
 9           42.    Defendants’ actions continue to deny Plaintiff’s rights to full and
10    equal access and discriminated and continue to discriminate against him on the
11    basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
12    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
13    accommodations, in violation of the ADA, 42 U.S.C. §12182.
14           43.    Further, each and every violation of the Americans With Disabilities
15    Act of 1990 also constitutes a separate and distinct violation of California Civil
16    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
17    damages and injunctive relief pursuant to California law, including but not limited
18    to Civil Code §54.3 and §55.
19                              SECOND CAUSE OF ACTION
20                           Violation of the Unruh Civil Rights Act
21                             (California Civil Code §51, et seq.)
22                                   (Against All Defendants)
23           44.    Plaintiff alleges and incorporates by reference, as if fully set forth
24    again herein, each and every allegation contained in all prior paragraphs of this
25    complaint.
26           45.    California Civil Code §51 provides that physically disabled persons
27    are free and equal citizens of the state, regardless of their medical condition or
28    disability:

                                           COMPLAINT - 11
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 1          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
 2
            disability, or medical condition are entitled to full and equal
 3          accommodations, advantages, facilities, privileges, or services in all
 4          business establishments of every kind whatsoever.

 5    California Civil Code §51(b) (emphasis added).
 6          46.    California Civil Code §51.5 also states, in part: “No business,
 7    establishment of any kind whatsoever shall discriminate against…any person in
 8    this state on account” of their disability.
 9          47.    California Civil Code §51(f) specifically incorporates (by reference)
10    an individual’s rights under the ADA into the Unruh Act.
11          48.    California Civil Code §52 provides that the discrimination by
12    Defendants against Plaintiff on the basis of his disability constitutes a violation of
13    the general antidiscrimination provisions of §51 and §52.
14          49.    Each of Defendants’ discriminatory acts or omissions constitutes a
15    separate and distinct violation of California Civil Code §52, which provides that:
16          Whoever denies, aids or incites a denial, or makes any discrimination
17          or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
            every offense for the actual damages, and any amount that may be
18          determined by a jury, or a court sitting without a jury, up to a maximum
19          of three times the amount of actual damage but in no case less than four
            thousand dollars ($4,000), and any attorney’s fees that may be
20          determined by the court in addition thereto, suffered by any person
21          denied the rights provided in Section 51, 51.5, or 51.6.

22          50.    Any violation of the Americans with Disabilities Act of 1990
23    constitutes a violation of California Civil Code §51(f), thus independently
24    justifying an award of damages and injunctive relief pursuant to California law,
25    including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
26    individual under the Americans with Disabilities Act of 1990 (Public Law 101-
27    336) shall also constitute a violation of this section.”
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                                           COMPLAINT - 12
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 1          51.    The actions and omissions of Defendants as herein alleged constitute a
 2    denial of access to and use of the described public facilities by physically disabled
 3    persons within the meaning of California Civil Code §51 and §52.
 4          52.    The discriminatory denial of equal access to and use of the described
 5    public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
 6          53.    As a proximate result of Defendants’ action and omissions,
 7    Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
 8    §52, and are responsible for statutory, compensatory and actual damages to
 9    Plaintiff, according to proof.
10                                     PRAYER FOR RELIEF
11           Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
12    forth in this Complaint. Plaintiff has suffered and will continue to suffer
13    irreparable injury as a result of the unlawful acts, omissions, policies, and
14    practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
15    he requests. Plaintiff and Defendants have an actual controversy and opposing
16    legal positions as to Defendants’ violations of the laws of the United States and
17    the State of California.
18           The need for relief is critical because the civil rights at issue are paramount
19    under the laws of the United States of America and the State of California.
20           WHEREFORE, Plaintiff prays judgment against Defendants, and each of
21    them, as follows:
22                1.      Issue a preliminary and permanent injunction directing
23          Defendants as current owners, operators, lessors, and/or lessees of the
24          Subject Property and premises to modify the above described property,
25          premises, policies and related facilities to provide full and equal access
26          to all persons, including persons with physical disabilities; and issue a
27          preliminary and permanent injunction pursuant to ADA §12188(a) and
28          state law directing Defendants to provide facilities and services usable

                                            COMPLAINT - 13
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 1          by Plaintiff and similarly situated persons with disabilities, and which
 2          provide full and equal access, as required by law, and to maintain such
 3          accessible facilities once they are provided; to cease any discriminatory
 4          policies; and to train Defendants’ employees and agents how to
 5          recognize disabled persons and accommodate their rights and needs;
 6                2.     Retain jurisdiction over the Defendants until such time as
 7          the Court is satisfied that Defendants’ unlawful policies, practices, acts
 8          and omissions, and maintenance of physically inaccessible public
 9          facilities and policies as complained of herein no longer occur, and
10          cannot recur;
11                3.     Award to Plaintiff all appropriate damages, including but
12          not limited to actual and statutory damages according to proof;
13                4.     Award to Plaintiff all reasonable attorney fees, litigation
14          expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
15          California Civil Code §52; and
16                5.     Grant such other and further relief as this Court may deem
17          just and proper.
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      DATED: May 21, 2025                            VALENTI LAW APC
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21                                             By: /s/ Matthew D. Valenti
22                                                 Matthew D. Valenti
23                                                 Attorney for Plaintiff
                                                   Michael J. Page
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                                          COMPLAINT - 14
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 1                                    JURY DEMAND
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            Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3
      jury is permitted.
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 6
 7    DATED: May 21, 2025                           VALENTI LAW APC

 8
                                              By: /s/ Matthew D. Valenti
 9
                                                  Matthew D. Valenti
10                                                Attorney for Plaintiff
11                                                Michael J. Page

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                                        COMPLAINT - 15
